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Real Estate subject to Arbor One mortgages:
(Schedule D - Items 2.3, 2.4, 2.5, 2.6, 2.7, 2.8 and 2.9)

       1) Item 1.2 schedule A/B:      4.52 acres
                                      tms 1500001011
                                      tax value $20600

       2) Item 1.1 schedule A/B:      81.09 acres with improvements
                                      TMS 0100001040
                                      tax value $266,080

       3) Item 1.3 schedule A/B:      8.35 acres
                                      tms 01500001154
                                      tax value $35720

       4) Item 1.4 schedule A/B:      11.01 acres
                                      tms 15000001128
                                      tax value 34220

       5) Item 1.9 schedule A/B:      56.5 acres (Marion County)
                                      TMS 044-00-00-030-000
                                      tax value $122,100

       6) Item 25 schedule A/B        tms             tax value           acreage
                                      150001001        $280240            99.04
                                      150001007        $ 90500            23.98
                                      100001111         $37620             13.54
                                      150001094         $131310           44.34
                                      100001034         $79000            24.27
                                      100001050         $103660            35.9
                                      100001100         $117410           45.7
                                      1500001085        $16400            3.24

                                      This real estate is owned by Terry Wayne Strickland Living
                                      Trust

Real estate subject to Harvey Chemical and Fertilizer mortgage:
(Schedule D Item 2.10)

       1) Item 1.2 schedule A/B:      4.52 acres
                                      tms 1500001011
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                                  tax value $20600

     2) Item 1.1 schedule A/B:    81.09 acres with improvements
                                  TMS 0100001040
                                  tax value $266,080

     3) Item 1.3 schedule A/B:    8.35 acres
                                  tms 01500001154
                                  tax value $35720

     4) Item 1.4 schedule A/B:    11.01 acres
                                  tms 15000001128
                                  tax value 34220

     5) Item 25 schedule A/B      tms            tax value              acreage
                                  150001001       $280240               99.04
                                  150001007       $ 90500               23.98
                                  100001111        $37620                13.54
                                  150001094        $131310              44.34
                                  100001034        $79000               24.27
                                  100001050        $103660               35.9
                                  100001100        $117410              45.7
                                  100001057        $29700               6.68
                                  1500001085       $16400               3.24
                                  0210001083       $127535              50.14

                                  This real estate is owned by Terry Wayne Strickland Living
                                  Trust

     6) Item 1.8 schedule A/B:    24.82 acres
                                  tms 150001002
                                  tax value 119860

     7) Item 25 schedule A/B:     TMS            tax value              acreage
                                  0380001006     $353,300               7.51

                                  Terry Wayne Strickland Living Trust owns a 50% interest
                                  in this real estate. Mr. Strickland’s sister owns the other
                                  50%.
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     8) Item 25 schedule A/B       TMS          tax value                 acreage
                                   0190001041 $7000                       .99 with 1979
                                   24X56 Horton mobile Home

                                   This real estate is owned by the Charlene Elliott Strickland
                                   Living Trust.

     Real estate subject to Helena Chemical mortgages:
     (Schedule D item 2.11)

     1) Item 1.6 schedule A/B:     tms 0100001098
                                   tax value 55800
                                   subject to life estate held by Virginia Strickland

     9) Item 1.2 schedule A/B:     4.52 acres
                                   tms 1500001011
                                   tax value $20600

     10) Item 1.1 schedule A/B:    81.09 acres with improvements
                                   TMS 0100001040
                                   tax value $266,080

     11) Item 1.3 schedule A/B:    8.35 acres
                                   tms 01500001154
                                   tax value $35720

     12) Item 1.4 schedule A/B:    11.01 acres
                                   tms 15000001128
                                   tax value 34220

     13) Item 25 schedule A/B      tms            tax value               acreage
                                   150001001       $280240                99.04
                                   150001007       $ 90500                23.98
                                   100001111        $37620                 13.54
                                   150001094        $131310               44.34
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                                  100001034       $79000                24.27
                                  100001050       $103660                35.9
                                  100001100       $117410               45.7
                                  100001057       $29700                6.68
                                  1500001085      $16400                3.24
                                  0210001083      $127535               50.14

                                  This real estate is owned by Terry Wayne Strickland Living
                                  Trust

     14) Item 1.8 schedule A/B:   24.82 acres
                                  tms 150001002
                                  tax value 119860

     15) Item 1.9 schedule A/B:   56.5 acres (Marion County)
                                  TMS 044-00-00-030-000
                                  tax value $122,100

     16) Item 25 schedule A/B:    TMS            tax value              acreage
                                  0380001006     $353,300               7.51

                                  Terry Wayne Strickland Living Trust owns a 50% interest
                                  in this real estate. Mr. Strickland’s sister owns the other
                                  50%.


     17) Item 1.5 schedule A/B:   PIN                           tax value       acreage
                                  0107.00-80-5788.000           $26,700         8.61

                                  Real estate located in Columbus County, NC


     18) Item 25 schedule A/B:    PIN                            tax value      acreage
                                  0107.00-81-8059.000           $12,300         5.39

                                  Real estate located in Columbus County, NC
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